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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS

  DUSTIN PATINO, individually and on
                               §
  behalf of others similarly situated,
                               §
                               §
     Plaintiff,                §
                               §                        Civil Action No. 3:16-CV-1104-M
  v.                           §
                               §
  LIGHTNING OILFIELD SERVICES, §
  INC. and MARK WADDEL,        §
                               §
     Defendants.               §

                                     SHOW CAUSE ORDER

          The Court previously ordered Plaintiff to file, no later than December 9, 2016, a Motion

for Notice and Conditional Certification. See First Phase of Scheduling Order dated 11/18/16

[ECF #13]. Plaintiff has failed to timely file the required Motion and has not otherwise taken any

action to advance the disposition of this putative collective action brought under the Fair Labor

Standards Act, 29 U.S.C. § 216(b). Therefore, the Court ORDERS Plaintiff to file a written

response to this Show Cause Order no later than January 23, 2017 and SHOW CAUSE as to

why sanctions should not be imposed for the failure to comply with the Court’s prior Order. See

Fed. R. Civ. P. 16(f) & 41(b) (authorizing dismissal of an action as a sanction for failure to

comply with scheduling or other order); see also Boudwin v. Graystone Ins. Co., Ltd., 756 F.2d

399, 401 (5th Cir. 1985) (recognizing that a court may sua sponte dismiss an action under Rule

41(b)).

          SO ORDERED.

          Dated: January 9, 2017.

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                                                              BARBARA M. G. LYNN
                                                              CHIEF JUDGE
